  Case 22-18365-CMG                Doc 16 Filed 11/18/22 Entered 11/19/22 00:14:35                                Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 22−18365−CMG
                                         Chapter: 7
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Alan Perez                                               Anitza Perez
   42 Hana Road                                             aka Anitza Cseko, aka Vargas
   Edison, NJ 08817                                         42 Hana Road
                                                            Edison, NJ 08817
Social Security No.:
   xxx−xx−8125                                              xxx−xx−6329
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



       NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case
as to the:
       Debtor and Joint Debtor was entered on November 16, 2022.

       Any discharge which was granted as to the above mentioned debtor(s) in this case is vacated. All outstanding
fees to the Court incurred by the dismissed debtor(s) are due and owing and must be paid within seven (7) days from
the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: November 16, 2022
JAN: rms

                                                                          Jeanne Naughton
                                                                          Clerk
      Case 22-18365-CMG                      Doc 16 Filed 11/18/22 Entered 11/19/22 00:14:35                                              Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-18365-CMG
Alan Perez                                                                                                             Chapter 7
Anitza Perez
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 16, 2022                                               Form ID: 148                                                               Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 18, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Alan Perez, Anitza Perez, 42 Hana Road, Edison, NJ 08817-2034
519742191                NY State Department of Taxation and Finance, WA Harriman Campus, Civil Enforcement Division, Albany, NY 12227-0841

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Nov 16 2022 20:40:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Nov 16 2022 20:40:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
519743993              + EDI: RMSC.COM
                                                                                        Nov 17 2022 01:33:00      Synchrony Bank, c/o of PRA Receivables
                                                                                                                  Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                                  23541-1021

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
519742226                      AllState
519742199                      Atlantic Urgent Care
519742219                      Capital One
519742220                      Capital One
519742210                      Care Credit
519742198                      Central Jersey Pathology Consultants
519742204                      Central Jersey Urgent Care
519742207                      Chase Amazon Prime
519742214                      Comenity Bank
519742212                      Credit One
519742218                      Discount Tire
519742227                      Family Credit Counseling Services
519742200                      Halsted Financial for Cavalry SPV I LLC
519742208                      Jared Genesis FS
519742195                      Jefferson Capital Systems LLC for LANDO Resorts
519742213                      Kohls
519742193                      LVNV Funding LLC DBA Credit One
519742211                      Macys
519742201                      Midland Credit Mand for Capital One
519742203                      Midland Funding NY$Co
519742192                      NY Federal Taxes
519742217                      Old Navy
     Case 22-18365-CMG                     Doc 16 Filed 11/18/22 Entered 11/19/22 00:14:35                                      Desc Imaged
                                                Certificate of Notice Page 3 of 3
District/off: 0312-3                                               User: admin                                                          Page 2 of 2
Date Rcvd: Nov 16, 2022                                            Form ID: 148                                                        Total Noticed: 5
519742209                        One Main Financial
519742223                        Optimum
519742221                        Oxford Arms Realty
519742202                        Qualia Collection Services for Kohls
519742196                        Rutgers Health
519742197                        Rutgers Health
519742222                        T-Mobile
519742194                        Unifund CCR LLC aao Comenity Bank
519742215                        Victoria Secret
519742224                        Volkswagen Credit
519742189                        Volkswagon Credit
519742205                        Wakefield Associates for JFK Medical
519742206                        Wakefield Associates for JFK Medical
519742216                        Walmart
519742190                        Wells Fargo Auto
519742225                        Wells Fargo Auto

TOTAL: 38 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 18, 2022                                        Signature:         /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 16, 2022 at the address(es) listed
below:
Name                             Email Address
Bunce Atkinson
                                 bunceatkinson@aol.com NJ09@ecfcbis.com,maraujo@atkinsondebartolo.org,atkinson@remote7solutions.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 2
